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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                         CASE NO. 20-24069-CIV-SCOLA/GOODMAN



  1199SEIU UNITED HEALTHCARE
  WORKERS EAST,

         Plaintiff(s),
  v.

  LOUIS DEJOY, et al.,

        Defendants.
  __________________________________/

       MAGISTRATE JUDGE GOODMAN’S DISCOVERY PROCEDURES ORDER

         The following discovery procedures apply to all civil cases in which discovery is

  referred to United States Magistrate Judge Jonathan Goodman and where Judge

  Goodman is presiding over a case with full consent.

  OVERALL STATEMENT

         The Court designed these procedures to help the Parties and the Court work

  together to timely resolve discovery disputes without undue delay and unnecessary

  expense. The procedures are designed to (1) promote the timely internal resolution of

  discovery disputes by the parties themselves so that they have no need to seek judicial

  intervention, (2) help the parties obtain timely rulings to the extent they cannot on their

  own resolve their discovery disputes, (3) streamline the process of resolving discovery
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  disputes by eliminating unnecessary motion practice, and (4) assist the Court by

  prohibiting the submission of motions and memoranda which are unnecessary, overly

  long or both.

  MEET AND CONFER

         Counsel must actually confer (in person or via telephone) and engage in

  reasonable compromise in a genuine effort to resolve their discovery disputes before

  filing a notice of a discovery hearing. In other words, there must be an actual

  conversation before a discovery hearing notice is filed. If counsel refuses to participate in

  a conversation, then the party seeking to a discovery hearing shall so state in the required

  certificate of conference and outline the efforts made to have a conversation.

         The Court may impose sanctions, monetary or otherwise, if it determines

  discovery is being improperly sought, is being withheld in bad faith or if a party fails to

  confer in good faith. Sending an email or telefax to opposing counsel with a demand that

  a discovery response or position be provided on the same day will rarely, if ever, be

  deemed a good faith effort to confer before filing a discovery hearing notice.

  DISCOVERY CALENDAR AND NO DISCOVERY MOTIONS

         No written discovery motions, including motions to compel, for protective order,

  or related motions for sanctions shall be filed unless specifically authorized by the Court.1


  1
         Nevertheless, if the parties wish to submit an agreed-upon discovery order, such
  as a standard confidentiality-type of protective order, then they shall (1) file a Notice of
  Proposed Stipulated Order with the proposed order attached to the notice and (2) submit
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  Similarly, the parties may not submit legal memoranda concerning a discovery hearing

  unless the Undersigned specifically authorizes it. This procedure is intended to minimize

  the need for discovery motions. The Court will strike any unauthorized discovery

  motions and memoranda.

         If, after conferring, the parties are unable to resolve their discovery disputes

  without Court intervention, then the Court holds a regular discovery calendar every

  Friday afternoon. The party seeking the discovery hearing shall contact Chambers at (305)

  523-5720 to place the matter on the next available discovery calendar. That party will be

  provided with available dates and will then confer with opposing counsel and confirm

  his or her availability for the discovery calendar. Once opposing counsel has confirmed

  availability, the party seeking the hearing will contact Chambers again to finalize the

  hearing date. [NOTE: The longer a party waits to contact Chambers to follow through

  after being provided with available times, the more likely it is that the hearing date will

  no longer be available. Therefore, the Court encourages parties seeking discovery

  hearings to follow through on a timely basis and confirm the hearing date.].

         On the same day that Chambers confirms that the matter is being placed on the

  discovery calendar, the party seeking the discovery hearing shall provide notice to all

  relevant parties by filing a Notice of Hearing and serving a copy on opposing counsel



  a Word-version courtesy copy to the Undersigned’s CM/ECF mailbox
  (goodman@flsd.uscourts.gov). This Order does not prohibit that submission because
  there is not a discovery dispute; instead, there is an agreement about a discovery issue.
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  through the Court’s electronic docketing system. The Notice of Hearing shall briefly and

  succinctly identify the substance of the discovery matter to be heard. (For example, “The

  Parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 4-7, and

  10” or “The Parties disagree about whether Defendant produced an adequate 30(b)(6)

  witness on the topics listed in the notice.”) Ordinarily, no more than twenty (20) minutes

  per side will be permitted. The party scheduling the hearing shall include in this Notice

  of Hearing a certificate of good faith that complies with Southern District of Florida

  Local Rule 7.1(a)(3). The Court will strike hearing notices which do not include a

  sufficient local rule certificate.

          The party who scheduled the discovery hearing shall provide the Court a copy of

  all source materials relevant to the discovery dispute, via hand-delivery or through a

  document that is emailed to the CM/ECF mailbox (goodman@flsd.uscourts.gov) on the

  date that the Notice of Hearing is filed.        (For example, if the dispute concerns

  interrogatories, then the interrogatories at issue and the responses thereto, shall be

  provided.) Source material is the actual discovery at issue.       Source material is not

  memoranda or letters to the Court which are, for all intents and purposes, a mini-brief.

  The opposing party may submit additional source material to the CM/ECF mailbox, as

  well.

          Neither the Notice of Hearing nor the source materials should be used as a de facto

  strategy to submit a memorandum. For example, sending multi-page, rhetoric-filled
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  letters to the Court or filing argument-riddled notices are specifically prohibited. The

  Court will strike letters, notices, and exhibits which are designed to circumvent the no

  motion/no memoranda policy.

         If one or more of the parties believe in good faith that the discovery dispute is not

  a routine, garden-variety dispute and needs specialized attention, then the parties may

  include a to-the-point, no-more-than-one-paragraph explanation in the Notice of

  Hearing, to flag the specific issues. In addition, the parties may submit a “notice of

  authorities,” which will list only the authorities, but which will not contain argument or

  be a disguised memorandum. At most, the list of authorities may contain a one-sentence,

  objective summary of the relevant holding of each case or authority. The Court will strike

  any non-compliant notice of authorities.

         For those discovery disputes which are particularly complex (and there are not

  many of those) and which a party believes will require briefing, a motion for leave to file

  a discovery motion or memoranda may be filed. The motion should briefly explain the

  extraordinary need, but the actual discovery motion or memorandum should not be

  attached or filed unless the Court grants the motion seeking leave. The Court anticipates

  that the need for motions and/or memoranda will arise only rarely.

         The following topics are illustrations of discovery disputes which are usually not

  rare enough to bypass the standard no-motion policy and therefore would not ordinarily

  justify a motion for leave to file a discovery motion in a specific case absent extraordinary
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  circumstances: (1) whether a party may take more than 10 depositions in the absence of

  consent; (2) whether a deposition may last more than 7 hours; (3) how a seven-hour

  deposition is allocated among the parties; (4) whether a 30(b)(6) witness was prepared to

  provide binding testimony on all the topics listed in the notice; (5) whether a noticed

  deposition is an "apex" deposition, and, if so, whether it will be permitted; (6) whether a

  party needs to arrange for a treating doctor to provide an expert witness report or if the

  party needs to make other written disclosures if the physician is expected to testify about

  the cause of an injury; (7) squabbles over the location of a deposition; (8) whether an

  attorney improperly instructed a deponent to not answer certain questions; (9) whether

  an attorney was improperly coaching a deponent; (10) whether a party or attorney may

  pay any money to a deponent or trial witness other than a standard witness fee, and, if

  so, under what circumstances and in what amounts; (11) whether a party may take "early"

  discovery; (12) whether a party exceeded the number of permissible interrogatories (and

  how should the sub-parts be counted); (13) whether an interrogatory answer is adequate

  or whether better answers are required; and (14) whether a party engaged in a

  strategically unfair "document dump" which makes it difficult for a party to know which

  documents are responsive to a request. These are all routine discovery disputes which

  require the submission of only the Notice of Hearing, source material and, at most, an

  argument-free list of authorities.
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         The Court expects all parties to engage in reasonable compromise to facilitate the

  resolution of their discovery disputes. The Court may impose sanctions, monetary or

  otherwise, if the Court determines discovery is being improperly sought or is being

  withheld in bad faith.

         These procedures do not relieve parties from the requirements of any Federal

  Rules of Civil Procedure or Local Rules, except as noted above.

  PRE-HEARING DISCUSSIONS

         The mere fact that the Court has scheduled a discovery hearing/conference does

  not mean that the parties should no longer try to resolve the dispute. To the contrary,

  the parties are encouraged to continually pursue settlement of disputed discovery

  matters. If those efforts are successful, then counsel should contact Chambers as soon as

  practicable so that the hearing can be timely canceled. Alternatively, if the parties resolve

  some, but not all, of their issues before the hearing, then counsel shall also timely contact

  Chambers and provide notice about those issues which are no longer in dispute (so that

  the Court and its staff do not unnecessarily work on matters no longer in dispute).

  EXPENSES, INCLUDING ATTORNEY’S FEES

         The Court reminds the parties and counsel that Federal Rule of Civil Procedure

  37(a)(5) requires the Court to award expenses, including fees, unless an exception (such

  as the existence of a substantially justified, albeit losing, discovery position) applies to the

  discovery dispute and ruling.
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  NO BOILERPLATE DISCOVERY OBJECTIONS

                     “Vague, Overly Broad and Unduly Burdensome”


        Parties shall not make conclusory boilerplate objections. Such objections do not

  comply with Local Rule 26.1(e)(2)(A), which provides that, “[w]here an objection is made

  to any interrogatory or sub-part thereof or to any production request under Federal Rule

  of Civil Procedure 34, the objection shall state with specificity all grounds.” Blanket,

  unsupported objections that a discovery request is “vague, overly broad, or unduly

  burdensome” are, by themselves, meaningless, and the Court will disregard such

  objections. A party objecting on these bases must explain the specific and particular ways

  in which a request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P.

  33(b)(4) (the ground for objecting to an interrogatory “must be stated with specificity”);

  Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a party

  that the interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’ is not

  adequate to voice a successful objection to an interrogatory.”). Testimony or evidence

  may be necessary to show that a particular request is in fact burdensome.

       “Irrelevant or Not Reasonably Calculated to Lead to Admissible Evidence”


        An objection that a discovery request is irrelevant or “not reasonably calculated to

  lead to admissible evidence” is an outdated type of objection, as that language no longer

  defines the scope of discovery under Federal Rule of Civil Procedure 26(b)(1). The current
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  version defines the scope of discovery as being “nonprivileged matter that is relevant to

  any party’s claim or defense and proportional to the needs of the case” -- and then lists

  several factors to analyze. The Court reminds the parties that the Federal Rules provide

  that information within this scope of discovery “need not be admissible in evidence” to

  be discoverable. See Fed. R. Civ. P. 26(b)(1); S. D. Fla. L. R. 26.1(g)(3)(A); Oppenheimer

  Fund, Inc. v. Sanders, 437 U.S. 340, 351-52 (1978).


                                   No Formulaic Objections


         Parties should avoid reciting a formulaic objection followed by an answer to the

  request. It has become common practice for a party to object on the basis of any of the

  above reasons, and then state that “notwithstanding the above,” the party will respond

  to the discovery request, subject to or without waiving such objection. Such a boilerplate

  objection and answer preserves nothing, and constitutes only a waste of effort and the

  resources of both the parties and the Court. Further, such practice leaves the requesting

  party uncertain as to whether the responding party fully answered. Moreover, the

  Federal Rules of Civil Procedure now specifically prohibit that practice (which was

  deemed inappropriate by many judges and commentators). For example, Federal Rule of

  Civil Procedure 34(b)(2)(C) now provides that an objection to a request for documents

  “must state whether any responsive materials are being withheld on the basis of that

  objection.” In addition, it also says that “an objection to part of a request must specify the
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   part and permit inspection of the rest.” Therefore, counsel should specifically state

   whether the responding party is fully answering or responding to a request and, if not,

   specifically identify the categories of information that have been withheld on an

   objection-by-objection basis.




                               Objections Based upon Privilege


          Generalized objections asserting attorney-client privilege or the work product

   doctrine also do not comply with the Local Rules. S. D. Fla. L. R. 26.1(e)(2)(B) requires

   that objections based upon privilege identify the specific nature of the privilege being

   asserted, as well as identify details such as the nature and subject matter of the

   communication at issue, the sender and receiver of the communication and their

   relationship to each other. Parties must review this Local Rule carefully, and refrain from

   objections in the form of: “Objection. This information is protected by attorney/client

   and/or work product privilege.” The Local Rule also requires the preparation of a

   privilege log except for “communications between a party and its counsel after
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   commencement of the action and work product material created after commencement of

   the action.”

          DONE AND ORDERED in Chambers, in Miami, Florida, on October 8, 2020.




   Copies furnished to:
   All Counsel of Record
